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                              EXHIBIT RR


                To Declaration of Micah West in Support of
                    Motion for Preliminary Injunction
                     & Motion for Class Certification
5/13/2017          Case 3:17-cv-00321-WKW-SMDAmerican
                                                 Document
                                                      FactFinder ­ 6-48
                                                                   CommunityFiled
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                                                                                                                                                           Feedback   FAQs   Glossary    Help



                                    MAIN       COMMUNITY FACTS               GUIDED SEARCH             ADVANCED SEARCH               DOWNLOAD CENTER


       Community Facts ­ Find popular facts (population, income, etc.) and frequently requested data about your community.

                  Enter a state, county, city, town, or zip code:                                                      GO



         Population                                 Randolph County, Alabama
         Age                                        Individuals below poverty level                                                                        Bookmark/Save         Print

         Business and Industry
                                                    20.4%                      Source: 2011­2015 American Community Survey 5­Year Estimates

         Education
                                                    Popular tables for this geography:
         Governments
                                                    2015 American Community Survey
                                                       Poverty Status in the Past 12 Months (Age, Sex, Race, Education, Employment, ...)
         Housing                                       Poverty Status in the Past 12 Months of Families (Family Type and Size, Race, Work, Education, Children, ...)
                                                       People at Specified Levels of Poverty (Age, Sex, Race, Hispanic, Education, Citizenship, Work, Disability, ...)
         Income                                        Children Characteristics (Poverty, Public Assistance, Age, Race, School Enrollment, ...)

                                                    Census 2000
         Origins and Language                         Selected Economic Characteristics (Poverty, Children, Income, Employment, ...)
                                                      Individual Poverty Status (Age, Sex, ...)
         Poverty                                      Compare Cities and Towns for Income and Poverty


         Race and Hispanic Origin                       Want more? Need help? Use Guided Search or visit Census.gov's Quick Facts.


         Veterans


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https://factfinder.census.gov/faces/nav/jsf/pages/community_facts.xhtml#                                                                                                                        1/1
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    S1701                       POVERTY STATUS IN THE PAST 12 MONTHS

                                2011-2015 American Community Survey 5-Year Estimates



           Supporting documentation on code lists, subject definitions, data accuracy, and statistical testing can be found on the American Community Survey
           website in the Data and Documentation section.

           Sample size and data quality measures (including coverage rates, allocation rates, and response rates) can be found on the American Community
           Survey website in the Methodology section.


           Tell us what you think. Provide feedback to help make American Community Survey data more useful for you.

           Although the American Community Survey (ACS) produces population, demographic and housing unit estimates, it is the Census Bureau's Population
           Estimates Program that produces and disseminates the official estimates of the population for the nation, states, counties, cities and towns and
           estimates of housing units for states and counties.




                         Subject                                                           Randolph County, Alabama
                                                                         Total                          Below poverty level                 Percent below
                                                                                                                                            poverty level
                                                             Estimate            Margin of Error      Estimate         Margin of Error        Estimate
Population for whom poverty status is determined                   22,130                  +/-168            4,511               +/-750               20.4%
AGE
 Under 18 years                                                      5,003                  +/-69             1,416               +/-333              28.3%
  Under 5 years                                                      1,218                  +/-61               430               +/-119              35.3%
  5 to 17 years                                                      3,785                  +/-44               986               +/-263              26.1%
  Related children of householder under 18 years                     4,998                  +/-70             1,411               +/-334              28.2%
 18 to 64 years                                                     12,981                 +/-118             2,373               +/-434              18.3%
  18 to 34 years                                                     3,896                 +/-180               826               +/-216              21.2%
  35 to 64 years                                                     9,085                 +/-181             1,547               +/-348              17.0%
 60 years and over                                                   5,535                 +/-212               922               +/-198              16.7%
 65 years and over                                                   4,146                 +/-108               722               +/-169              17.4%

SEX
 Male                                                               10,838                 +/-134             2,048               +/-334              18.9%
 Female                                                             11,292                 +/-145             2,463               +/-486              21.8%

RACE AND HISPANIC OR LATINO ORIGIN
 White alone                                                        17,085                 +/-203             3,015               +/-587              17.6%
 Black or African American alone                                     4,428                 +/-268             1,213               +/-401              27.4%
 American Indian and Alaska Native alone                                58                  +/-50                12                +/-20              20.7%
 Asian alone                                                            38                  +/-61                 0                +/-21               0.0%
 Native Hawaiian and Other Pacific Islander alone                       50                  +/-78                 0                +/-21               0.0%
 Some other race alone                                                  95                 +/-119                76               +/-115              80.0%
 Two or more races                                                     376                 +/-199               195               +/-161              51.9%

Hispanic or Latino origin (of any race)                                625                  +/-42               369               +/-105              59.0%
White alone, not Hispanic or Latino                                 16,655                 +/-162             2,794               +/-569              16.8%

EDUCATIONAL ATTAINMENT
 Population 25 years and over                                       15,320                 +/-166             2,696               +/-458              17.6%
  Less than high school graduate                                     3,645                 +/-420             1,268               +/-275              34.8%


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                                                                   Total                         Below poverty level              Percent below
                                                                                                                                  poverty level
                                                          Estimate         Margin of Error    Estimate         Margin of Error      Estimate
  High school graduate (includes equivalency)                    5,464               +/-466              860             +/-254             15.7%
  Some college, associate's degree                               3,896               +/-394              414             +/-142             10.6%
  Bachelor's degree or higher                                    2,315               +/-372              154             +/-102              6.7%

EMPLOYMENT STATUS
 Civilian labor force 16 years and over                          9,527               +/-440          1,013               +/-252            10.6%
  Employed                                                       8,564               +/-448            688               +/-196             8.0%
   Male                                                          4,432               +/-312            300               +/-111             6.8%
   Female                                                        4,132               +/-281            388               +/-145             9.4%
  Unemployed                                                       963               +/-214            325               +/-128            33.7%
   Male                                                            528               +/-161            141                +/-79            26.7%
   Female                                                          435               +/-137            184                +/-92            42.3%

WORK EXPERIENCE
 Population 16 years and over                                   17,678               +/-156          3,148               +/-514            17.8%
  Worked full-time, year-round in the past 12 months             6,497               +/-416            227                +/-94             3.5%

  Worked part-time or part-year in the past 12 months            2,951               +/-316              601             +/-189            20.4%

  Did not work                                                   8,230               +/-448          2,320               +/-393            28.2%

ALL INDIVIDUALS WITH INCOME BELOW THE
FOLLOWING POVERTY RATIOS
 50 percent of poverty level                                     2,024               +/-539              (X)                (X)                  (X)
 125 percent of poverty level                                    6,021               +/-747              (X)                (X)                  (X)
 150 percent of poverty level                                    7,074               +/-797              (X)                (X)                  (X)
 185 percent of poverty level                                    8,780               +/-735              (X)                (X)                  (X)
 200 percent of poverty level                                    9,453               +/-761              (X)                (X)                  (X)
 300 percent of poverty level                                   14,802               +/-731              (X)                (X)                  (X)
 400 percent of poverty level                                   18,074               +/-645              (X)                (X)                  (X)
 500 percent of poverty level                                   19,856               +/-473              (X)                (X)                  (X)

UNRELATED INDIVIDUALS FOR WHOM POVERTY                           3,681               +/-449          1,185               +/-223            32.2%
STATUS IS DETERMINED
 Male                                                            1,772               +/-300              508             +/-139            28.7%
 Female                                                          1,909               +/-290              677             +/-186            35.5%

15 years                                                            0                 +/-21                0              +/-21                 -
16 to 17 years                                                      5                 +/-10                5              +/-10           100.0%
18 to 24 years                                                    295                +/-118              141              +/-77            47.8%
25 to 34 years                                                    314                +/-113              107              +/-77            34.1%
35 to 44 years                                                    507                +/-252              101              +/-79            19.9%
45 to 54 years                                                    518                +/-126              173              +/-79            33.4%
55 to 64 years                                                    729                +/-157              232              +/-86            31.8%
65 to 74 years                                                    617                +/-147              134              +/-66            21.7%
75 years and over                                                 696                +/-126              292             +/-115            42.0%

Mean income deficit for unrelated individuals (dollars)          5,684               +/-714              (X)                (X)                  (X)


Worked full-time, year-round in the past 12 months               1,159               +/-324               39              +/-32             3.4%
Worked less than full-time, year-round in the past 12              444               +/-113              193              +/-85            43.5%
months
Did not work                                                     2,078               +/-302              953             +/-199            45.9%




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                                                        Percent below
                                                         poverty level
                                                        Margin of Error
Population for whom poverty status is determined                   +/-3.4
AGE
 Under 18 years                                                    +/-6.7
  Under 5 years                                                   +/-10.0
  5 to 17 years                                                    +/-6.9
  Related children of householder under 18 years                   +/-6.7
 18 to 64 years                                                    +/-3.4
  18 to 34 years                                                   +/-5.3
  35 to 64 years                                                   +/-3.8
 60 years and over                                                 +/-3.4
 65 years and over                                                 +/-4.0

SEX
 Male                                                              +/-3.1
 Female                                                            +/-4.3

RACE AND HISPANIC OR LATINO ORIGIN
 White alone                                                       +/-3.4
 Black or African American alone                                   +/-8.9
 American Indian and Alaska Native alone                          +/-39.5
 Asian alone                                                      +/-46.2
 Native Hawaiian and Other Pacific Islander alone                 +/-40.3
 Some other race alone                                            +/-48.1
 Two or more races                                                +/-26.1

Hispanic or Latino origin (of any race)                           +/-16.5
White alone, not Hispanic or Latino                                +/-3.4

EDUCATIONAL ATTAINMENT
 Population 25 years and over                                      +/-3.0
  Less than high school graduate                                   +/-6.4
  High school graduate (includes equivalency)                      +/-4.4
  Some college, associate's degree                                 +/-3.5
  Bachelor's degree or higher                                      +/-4.3

EMPLOYMENT STATUS
 Civilian labor force 16 years and over                            +/-2.7
  Employed                                                         +/-2.3
   Male                                                            +/-2.4
   Female                                                          +/-3.5
  Unemployed                                                      +/-11.5
   Male                                                           +/-13.6
   Female                                                         +/-17.8

WORK EXPERIENCE
 Population 16 years and over                                      +/-2.9
  Worked full-time, year-round in the past 12 months               +/-1.5

  Worked part-time or part-year in the past 12 months              +/-6.0

  Did not work                                                     +/-4.1

ALL INDIVIDUALS WITH INCOME BELOW THE
FOLLOWING POVERTY RATIOS
 50 percent of poverty level                                          (X)
 125 percent of poverty level                                         (X)
 150 percent of poverty level                                         (X)
 185 percent of poverty level                                         (X)


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                                                             Percent below
                                                              poverty level
                                                             Margin of Error
 200 percent of poverty level                                              (X)
 300 percent of poverty level                                              (X)
 400 percent of poverty level                                              (X)
 500 percent of poverty level                                              (X)

UNRELATED INDIVIDUALS FOR WHOM POVERTY                                    +/-5.8
STATUS IS DETERMINED
 Male                                                                     +/-7.7
 Female                                                                   +/-9.0

15 years                                                                      **
16 to 17 years                                                         +/-100.0
18 to 24 years                                                          +/-24.7
25 to 34 years                                                          +/-22.4
35 to 44 years                                                          +/-15.8
45 to 54 years                                                          +/-13.0
55 to 64 years                                                          +/-10.8
65 to 74 years                                                            +/-9.6
75 years and over                                                       +/-12.8

Mean income deficit for unrelated individuals (dollars)                      (X)


Worked full-time, year-round in the past 12 months                        +/-2.9
Worked less than full-time, year-round in the past 12                    +/-17.3
months
Did not work                                                              +/-7.6



           Data are based on a sample and are subject to sampling variability. The degree of uncertainty for an estimate arising from sampling variability is
           represented through the use of a margin of error. The value shown here is the 90 percent margin of error. The margin of error can be interpreted
           roughly as providing a 90 percent probability that the interval defined by the estimate minus the margin of error and the estimate plus the margin of
           error (the lower and upper confidence bounds) contains the true value. In addition to sampling variability, the ACS estimates are subject to
           nonsampling error (for a discussion of nonsampling variability, see Accuracy of the Data). The effect of nonsampling error is not represented in these
           tables.


           While the 2011-2015 American Community Survey (ACS) data generally reflect the February 2013 Office of Management and Budget (OMB)
           definitions of metropolitan and micropolitan statistical areas; in certain instances the names, codes, and boundaries of the principal cities shown in
           ACS tables may differ from the OMB definitions due to differences in the effective dates of the geographic entities.



           Estimates of urban and rural population, housing units, and characteristics reflect boundaries of urban areas defined based on Census 2010 data. As
           a result, data for urban and rural areas from the ACS do not necessarily reflect the results of ongoing urbanization.


           Source: U.S. Census Bureau, 2011-2015 American Community Survey 5-Year Estimates


           Explanation of Symbols:

              1. An '**' entry in the margin of error column indicates that either no sample observations or too few sample observations were available to
           compute a standard error and thus the margin of error. A statistical test is not appropriate.
              2. An '-' entry in the estimate column indicates that either no sample observations or too few sample observations were available to compute an
           estimate, or a ratio of medians cannot be calculated because one or both of the median estimates falls in the lowest interval or upper interval of an
           open-ended distribution.
              3. An '-' following a median estimate means the median falls in the lowest interval of an open-ended distribution.
              4. An '+' following a median estimate means the median falls in the upper interval of an open-ended distribution.
              5. An '***' entry in the margin of error column indicates that the median falls in the lowest interval or upper interval of an open-ended distribution. A
           statistical test is not appropriate.
              6. An '*****' entry in the margin of error column indicates that the estimate is controlled. A statistical test for sampling variability is not appropriate.
              7. An 'N' entry in the estimate and margin of error columns indicates that data for this geographic area cannot be displayed because the number of
           sample cases is too small.
              8. An '(X)' means that the estimate is not applicable or not available.




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